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     Sacramento, CA 95814
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5
     Attorney for Defendant
6    FERLANDO CARTER
7
                              IN THE UNITED STATES DISTRICT COURT
8
                            FOR THE EASTERN DISTRICT OF CALIFORNIA
9
10   UNITED STATES OF AMERICA,                    )   Case No. 2:13-CR-00267 TLN
                                                  )
11   Plaintiff,                                   )   STIPULATION AND ORDER TO
                                                  )   CONTINUE STATUS CONFERENCE, AND TO
12   vs.                                          )   EXCLUDE TIME
                                                  )
13   FERLANDO CARTER, et al.                      )   Date: March 26, 2015
                                                  )   Time: 9:30 a.m.
14   Defendants.                                  )   Judge: Hon. Troy L. Nunley
                                                  )
15                                                )
16          IT IS HEREBY STIPULATED by and between Benjamin Wagner, U.S. Attorney,
17   through Assistant United States Attorney Justin Lee, attorney for Plaintiff, Heather Williams,
18   Federal Defender, through Assistant Federal Defender Douglas Beevers, attorney for Ferlando
19   Carter, and Jason Lawley, attorney for Luis Bustamante, that the status conference scheduled for
20   March 26, 2015 be vacated and be continued to June 18, 2015 at 9:30 a.m.
21          The grounds for this continuance are that Defense counsel for Mr. Carter would like time
22   to evaluate his mental competency report before the next status conference. The mental
23   competency report is due by April 16, 2015. Furthermore, Defense counsel for Mr. Bustamante
24   will be in trial for six weeks starting on April 20, 2015.
25          Based upon the foregoing, the parties agree time under the Speedy Trial Act should be
26   excluded of this order’s date through and including June 18, 2015; pursuant to 18 U.S.C. §3161
27   (h)(7)(A)and (B)(iv)[reasonable time to prepare] and General Order 479, Local Code T4 based
28   upon continuity of counsel and defense preparation.

                                                       -1-           Stipulation and Order to Continue Status Conference
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1    DATED: March 24, 2015                         Respectfully submitted,
                                                   HEATHER E. WILLIAMS
2                                                  Federal Defender
3
                                                   /s/ Douglas Beevers
4                                                  DOUGLAS J. BEEVERS
                                                   Assistant Federal Defender
5                                                  Attorney for Ferlando Carter
6
7    DATED: March 24, 2015                         Respectfully submitted,

8                                                  /s/ Douglas Beevers for
                                                   JASON LAWLEY
9                                                  Attorney for Luis Bustamante
10
11   DATED: March 24, 2015                         BENJAMIN B. WAGNER
                                                   United States Attorney
12
                                                   /s/ Douglas Beevers for
13                                                 JUSTIN LEE
14                                                 Assistant U.S. Attorney
                                                   Attorney for Plaintiff
15
16
                                                  ORDER
17
            IT IS HEREBY ORDERED, the Court, having received, read, and considered the parties’
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     stipulation, and good cause appearing therefrom, adopts the parties’ stipulation in its entirety as
19
     its order. The Court specifically finds the failure to grant a continuance in this case would deny
20
     counsel reasonable time necessary for effective preparation, taking into account the exercise of
21
     due diligence. The Court finds the ends of justice are served by granting the requested
22
     continuance and outweigh the best interests of the public and defendant in a speedy trial.
23
     Dated: March 24, 2015
24
25
26
                                                             Troy L. Nunley
27                                                           United States District Judge
28

                                                      -2-             Stipulation and Order to Continue Status Conference
